
In re: Joseph C. Lyons applying for certiorari, or writ of review, to the Court of *463Appeal, First Circuit, Parish of East Baton Rouge. 194 So.2d 147.
Writ refused. On the facts found by the Court of Appeal there appears no error of law in its judgment.
FOURNET, C. J.,
is of the opinion that the plaintiff is entitled to the penalties and attorneys’ fees claimed under the facts of the case as found to be by the Court of Appeal, and, therefore a writ should be granted in this case.
SUMMERS, J.,
is of the opinion that the writ should be granted for the reason there was no bona fide cause under the facts for the employer to question the hazardous nature of the employment.
